                 Case 2:23-cr-20044-DDC-TJJ Document 13 Filed 08/11/23 Page 1 of 1



                                                     SEALED
                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF KANSAS
                                                                ..,__
                                              (Kansas City Docket)          __ __________________
UNITED STATES OF AMERICA                                                     RECEIVED
                    Plaintiff,                                               By United States Marshals Service, KCK at 1:29 pm, Jul 27, 2023


               v.                                                           Case No. 23-20044-09-DDC/TJJ
                                                                            Filed Under Seal
IRMA POBLANO,
                                   Defendant.
                        s;o
                                                      ARREST WARRANT

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to a1Tcst and bring before a Uni ted States magistrate judge without unnecessary delay

IRMA POBLANO, who is accused of an offense or violation based on the fo llowing document filed ,vith the court:



§         Indictment
          Superseding Info1111at ion
          Supervised Release Violation Petition
                                                         §        Superseding Indictment
                                                                  Complaint
                                                                  Violation Notice
                                                                                                §            Information
                                                                                                             Probation Vio lation Peti tion
                                                                                                             Order of the Court

  This offense is briefly described as fo llows:

  Ct. I: 2 1 U.S.C. § 846 - Conspiracy to Distribute and PWITD Methamphetamine;
  Ct. I 8: 2 1 U.S.C. §§ 84 1(a)( I) and 84 1(b)( I)(C) & 18 U.S.C. § 2 - Distribution of Methamphetamine;
  Forfeiture Allegations

  Date:     7/27/2023
                                                                                            l1-s11ih.r; o//ici:r ·s s i >!(l(ll lfl'<'
  City and State:       Kansas City, KS                                                   ~k) kr n. O'rl ara. Cl.:rk 11l' C·oun
                                                                                                                                         - - -- - -
                                                                                               l'rill!ed m1111e and ritl<!


                                                                    Return
  This warrant was recei ved on (elate)     -:J...   ~   4'2 ,    and the person was arn::stcd on
                                            7 1      -Z:L~        (elate)
  at (city and state)       K/!,,JL        --=------'----="'---
                            •
  Date:                                                                              ~     Arre.wing officer ·s signature
